5 F.3d 534NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.
    Jorge I. ALVARADO-PERALTA, Petitioner,v.IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 92-70667.
    United States Court of Appeals, Ninth Circuit.
    Submitted July 16, 1993.*Decided Sept. 15, 1993.
    
      Before:  WOOD**, REINHARDT, and RYMER, Circuit Judges.
    
    
      1
      MEMORANDUM***
    
    
      2
      Jorge Ignacio Alvarado-Peralta challenges an order of deportation based upon the predecessor to section 241(a)(2)(B)(i) of the Immigration and Nationality Act, 8 U.S.C. Sec. 1251(a)(2)(B)(i).1  Alvarado entered the United States as a permanent resident in 1973.  On October 11, 1989, he pleaded guilty in Imperial County Municipal Court to two counts of having been under the influence of opiates and one count of having been under the influence of heroin, all in violation of California Health &amp; Safety Code Sec. 11550(a).
    
    
      3
      Under section 241(a)(2)(B)(i) and its predecessor, any alien "convicted of a violation of ... any law or regulation of a State ... relating to a controlled substance ... is deportable."   Alvarado contends that under-the-influence convictions do not fall within this deportation provision.  As we explain in our opinion in Flores-Arellano v. INS, No. 92-70129, filed contemporaneously with this memorandum, the statute plainly reaches under-the-influence convictions.  Conviction of violating Cal.  Health &amp; Safety Code Sec. 11550(a) rendered Alvarado deportable.
    
    
      4
      Because we reject the only contention raised by Alvarado,2 his petition for review is
    
    
      5
      DENIED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         Honorable Harlington Wood, Jr., Senior United States Circuit Judge for the Seventh Circuit, sitting by designation
      
      
        ***
         This disposition is not appropriate for publication and may not be cited to or by the Courts of this Circuit except as provided by Ninth Circuit Rule 36-3
      
      
        1
         Alvarado was found deportable under former section 241(a)(11) of the INA.  The Immigration Act of 1990 recodified section 241(a)(11), with substantive revisions irrelevant to this case, as section 241(a)(2)(B)
      
      
        2
         We note that Alvarado does not challenge the discretionary denial of his application for waiver under section 212(c), 8 U.S.C. Sec. 1182(c)
      
    
    